     Case 1:10-cr-10308-PBS Document 31 Filed 12/22/16 Page 1 of 17
                                                                         1




 1                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS
 2

 3      UNITED STATES OF AMERICA,                )
                                                 )
 4                      Plaintiff                )
                                                 )
 5               -VS-                            ) Criminal No. 10-10308-PBS
                                                 ) Pages 1 - 16
 6      BRYAN MILEKIS,                           )
                                                 )
 7                      Defendant                )

 8
                                    RULE 11 HEARING
 9

10                      BEFORE THE HONORABLE PATTI B. SARIS
                           UNITED STATES DISTRICT JUDGE
11

12
     A P P E A R A N C E S:
13
          ROBERT E. RICHARDSON, ESQ., Assistant United States
14   Attorney, Office of the United States Attorney, 1 Courthouse
     Way, Room 9200, Boston, Massachusetts, 02210, for the
15   Plaintiff.

16        ROBERT J. GALIBOIS, II, ESQ., Law Offices of Robert J.
     Galibois, II, 414 Country Club Way, Kingston, Massachusetts,
17   02364, for the Defendant.

18                                      United States District Court
                                        1 Courthouse Way, Courtroom 19
19                                      Boston, Massachusetts 02210
                                        April 26, 2011, 2:18 p.m.
20

21                             LEE A. MARZILLI
                           OFFICIAL COURT REPORTER
22                       United States District Court
                         1 Courthouse Way, Room 7200
23                           Boston, MA 02210
                               (617)345-6787
24

25
     Case 1:10-cr-10308-PBS Document 31 Filed 12/22/16 Page 2 of 17
                                                                              2




 1                         P R O C E E D I N G S

 2              THE CLERK:    Court calls Criminal Action 10-10308,

 3   United States v. Bryan Milekis.         Can you please identify

 4   yourself for the record.

 5              MR. RICHARDSON:      Robert Richardson for the United

 6   States.    Good afternoon, your Honor.

 7              MR. GALIBOIS:     Your Honor, good afternoon.         Rob

 8   Galibois behalf of Mr. Milekis.

 9              THE COURT:    Thank you.     Why are we here today?

10              MR. GALIBOIS:     Judge, my client wishes to enter a

11   change of plea.

12              THE COURT:    All right, Ms. Molloy?

13              THE CLERK:    Yes.    Mr. Milekis, you have previously

14   pled not guilty to armed bank robbery, Counts 1 and 2, all in

15   violation of Title 18 U.S.C. Section 2113(a).          Do you now wish

16   to change your plea?

17              THE DEFENDANT:     Yes.

18              THE CLERK:    And how do you plead to Count 1 and

19   Count 2, guilty or not guilty?

20              THE DEFENDANT:     Guilty.

21              THE CLERK:    Okay, you can take a seat over here with

22   counsel.

23              (Defendant duly sworn.)

24              THE COURT:    Sir, so your lawyer is standing right next

25   to you, and if you have any questions, you can just put your
     Case 1:10-cr-10308-PBS Document 31 Filed 12/22/16 Page 3 of 17
                                                                            3




 1   hand over the mic and ask him a question.          Do you understand

 2   that?

 3              THE DEFENDANT:     Yes, your Honor.

 4              THE COURT:    Just put that right there so we can hear

 5   each other.     Do you understand that you're now under oath, and

 6   if you answer any of my questions falsely, your answers can

 7   later be used against you in another prosecution for perjury or

 8   making a false statement?

 9              THE DEFENDANT:     Yes, your Honor.

10              THE COURT:    What is your full name?

11              THE DEFENDANT:     Bryan Charles Milekis.

12              THE COURT:    And do you go by any nicknames or false

13   names?

14              THE DEFENDANT:     No, your Honor.

15              THE COURT:    How old are you?

16              THE DEFENDANT:     Twenty-four years old.

17              THE COURT:    Where did you grow up?

18              THE DEFENDANT:     Bourne, Cape Cod.

19              THE COURT:    Where did you go to high school?

20              THE DEFENDANT:     Bourne High School.

21              THE COURT:    Did you graduate?

22              THE DEFENDANT:     Yes, your Honor.

23              THE COURT:    And did you go on to any kind of college?

24              THE DEFENDANT:     Yes, your Honor.

25              THE COURT:    Where did you go?
     Case 1:10-cr-10308-PBS Document 31 Filed 12/22/16 Page 4 of 17
                                                                            4




 1              THE DEFENDANT:     I went to Cape Cod Community College.

 2              THE COURT:    So did you read the indictment against

 3   you?

 4              THE DEFENDANT:     Yes, your Honor.

 5              THE COURT:    And do you understand you're pleading

 6   guilty without a plea agreement?

 7              THE DEFENDANT:     Yes, your Honor.

 8              THE COURT:    Have you ever been treated for any mental

 9   illness or addiction to narcotic drugs?

10              THE DEFENDANT:     Yes, your Honor.

11              THE COURT:    What have you been treated with?

12              THE DEFENDANT:     Uhm --

13              THE COURT:    Tell me about it.

14              THE DEFENDANT:     I had been to a detox previously for

15   opiates.

16              THE COURT:    All right, and how do you feel today?

17              THE DEFENDANT:     Did you say mental illness or drugs?

18              THE COURT:    Well, I asked both.      Have you ever been

19   treated for any mental illness or addiction to narcotic drugs?

20              THE DEFENDANT:     Not mental illness but narcotic drugs,

21   yes.

22              THE COURT:    And how long ago was your treatment?

23              THE DEFENDANT:     Uhm, over three years.

24              THE COURT:    Do you feel all right today?

25              THE DEFENDANT:     Yes, your Honor.
     Case 1:10-cr-10308-PBS Document 31 Filed 12/22/16 Page 5 of 17
                                                                           5




 1               THE COURT:   No sort of withdrawal or anything?

 2               THE DEFENDANT:    Oh, no.

 3               THE COURT:   All right.     Are you currently under the

 4   influence of any drugs or medications or alcoholic beverages?

 5               THE DEFENDANT:    No, your Honor.

 6               THE COURT:   Are you taking any legally prescribed

 7   medications?

 8               THE DEFENDANT:    No, your Honor.

 9               THE COURT:   Have you been satisfied with your

10   attorney?

11               THE DEFENDANT:    Yes, your Honor.

12               THE COURT:   Did you go through the indictment with

13   him?

14               THE DEFENDANT:    Yes, your Honor.

15               THE COURT:   Has he pressured you into pleading guilty?

16               THE DEFENDANT:    No, your Honor.

17               THE COURT:   Has anyone made you any promises or

18   threats to get you to plead guilty?

19               THE DEFENDANT:    No, your Honor.

20               THE COURT:   Are you a citizen?

21               THE DEFENDANT:    Yes, your Honor.

22               THE COURT:   Do you understand this will deprive you of

23   certain important civil rights, like the right to vote, the

24   right to sit on juries, the right to possess firearms, and all

25   sorts of other civil rights?
     Case 1:10-cr-10308-PBS Document 31 Filed 12/22/16 Page 6 of 17
                                                                             6




 1              THE DEFENDANT:     Yes, your Honor.

 2              THE COURT:    So at this point I'm going to ask the

 3   government to state the penalties that could be imposed on

 4   these two counts.

 5              MR. RICHARDSON:     Your Honor, on each of the two counts

 6   of the indictment charging the defendant with armed bank

 7   robbery, the maximum possible penalties are 25 years in prison,

 8   a $250,000 fine, five years of supervised release, and a

 9   mandatory $100 special assessment.

10              THE COURT:    Have you done a tentative preliminary

11   assessment of the Sentencing Guideline range?

12              MR. RICHARDSON:     I'm sure I did at some point, your

13   Honor.

14              THE COURT:    Have you?

15              MR. GALIBOIS:     No, Judge.    We've talked about what he

16   calculated in the past, so I'm trying to recall that number.

17              THE COURT:    Well, because you hear the maximum

18   sentences, and it's good for you to hear what's at least the

19   first cut at what a range might be.

20              MR. RICHARDSON:     Your Honor, this is my first, again,

21   first cut at the Guidelines, and I've got to be candid with

22   both the Court and the defendant:         I am notoriously bad at

23   computing criminal histories.

24              THE COURT:    Well, let me ask you, is he an armed

25   career criminal?
     Case 1:10-cr-10308-PBS Document 31 Filed 12/22/16 Page 7 of 17
                                                                               7




 1               MR. RICHARDSON:    No, I don't believe he's a career

 2   offender.

 3               THE COURT:   What does his criminal history look like?

 4               MR. GALIBOIS:     He does an issue, Judge.     He in fact

 5   was on probation in Superior Court down in Barnstable at the

 6   time of this particular matter, but by both of our

 7   understandings, he would not qualify as an armed career

 8   criminal.

 9               MR. RICHARDSON:    Right.    I think he had one violent

10   prior felony conviction but not the two that would qualify him

11   for career offender treatment.        So without binding myself, I

12   can tell you my sort of back-of-the-envelope calculation was

13   87 to 108 months after trial or 63 to 78 months on a plea.

14               MR. GALIBOIS:     I thought it was 68, but I remember it

15   being in the 60s.

16               THE COURT:   Well, do you understand that those are not

17   by any means binding or final calculations but that there may

18   be a sentencing range somewhat in that vicinity?

19               THE DEFENDANT:    Yes, your Honor.

20               THE COURT:   All right.     And do you understand that

21   I'll send this to the Probation Department which will calculate

22   a Guideline range, and that you have a right to object to that

23   Guideline range at a subsequent sentencing hearing?              Do you

24   understand that?

25               THE DEFENDANT:    Yes, your Honor.
     Case 1:10-cr-10308-PBS Document 31 Filed 12/22/16 Page 8 of 17
                                                                             8




 1              THE COURT:    And I'll make rulings on the Guideline

 2   range, and I'll also hear arguments from your attorney and from

 3   the government about any variances or departures from the

 4   Guideline range.      Do you understand that?

 5              THE DEFENDANT:     Yes, your Honor.

 6              THE COURT:    And at the end of the hearing, you may

 7   disagree with my sentence.       You may think I erred as a matter

 8   of law and you can appeal the sentence, but you couldn't at

 9   that point withdraw your guilty plea.         Do you understand that?

10              THE DEFENDANT:     Yes, your Honor.

11              THE COURT:    Thank you.    So now I want to go through

12   the very important rights that you give up by pleading guilty.

13   Do you understand you have a right to a jury trial?

14              THE DEFENDANT:     Yes, your Honor.

15              THE COURT:    And do you understand that a jury must be

16   chosen at random from the community?

17              THE DEFENDANT:     Yes, your Honor.

18              THE COURT:    And do you understand that the government

19   must prove beyond a reasonable doubt that you're guilty before

20   you can be convicted?

21              THE DEFENDANT:     Yes, your Honor.

22              THE COURT:    Do you understand the burden of proof

23   never shifts to you because you have the presumption of

24   innocence?

25              THE DEFENDANT:     Yes, your Honor.
     Case 1:10-cr-10308-PBS Document 31 Filed 12/22/16 Page 9 of 17
                                                                              9




 1              THE COURT:    Do you understand you wouldn't have to

 2   testify against yourself at trial, but you could testify on

 3   your own behalf if you wanted to do so?

 4              THE DEFENDANT:     Yes, your Honor.

 5              THE COURT:    Do you understand you can subpoena

 6   witnesses on your own behalf and have witnesses cross-examined

 7   by your attorney?

 8              THE DEFENDANT:     Yes, your Honor.

 9              THE COURT:    Do you understand that?      And understanding

10   all these very important rights, the right to a jury trial, the

11   right to an attorney, the right to force the prosecutor to meet

12   that high burden of proof, do you still want to plead guilty?

13              THE DEFENDANT:     Yes, your Honor.

14              THE COURT:    All right, I'm going to ask the government

15   now to state the evidence, and then I'm going to ask you if you

16   agree with it, all right, so listen.

17              MR. RICHARDSON:     Your Honor, as to Count 1, the

18   evidence at trial would have shown that on Tuesday, June 1,

19   2010, at around 4:20 p.m., a young white male entered the

20   TD Bank located at 2 Market Crossing in Plymouth,

21   Massachusetts.     He approached a teller demanding money and

22   telling her that she had 30 seconds.         He was brandishing what

23   appeared to be a black handgun in his right hand.           The teller

24   handed the robber currency from her drawer which he placed in

25   the plastic bag and then fled the bank.         The bank surveillance
     Case 1:10-cr-10308-PBS Document 31 Filed 12/22/16 Page 10 of 17
                                                                                10




 1    video showed that the robber was wearing a gray sweatshirt with

 2    the word "Abercrombie" across the front.         A post-robbery audit

 3    revealed that the robber took $2,705 in U.S. currency, and the

 4    evidence would have shown that the deposits of the TD Bank were

 5    at the time and are now insured by the Federal Deposit

 6    Insurance Corporation.

 7               As to Count 2, the evidence would have shown that

 8    on --

 9               THE COURT:    Why don't we stop for a second.         Do you

10    disagree with anything that he said about the robbery at the

11    TD Bank?

12               THE DEFENDANT:    No, your Honor.

13               MR. RICHARDSON:    As to Count 2 the evidence would have

14    shown that on Friday, June 4, 2010, at around 3:23 p.m., a

15    white male entered the Sovereign Bank located at 715 State

16    Road, Plymouth, Massachusetts.       He approached a teller and

17    brandished what appeared to be a black handgun, stating,

18    "30 seconds, 30 seconds, empty out your drawer."          The robber

19    took a white plastic bag from his pocket and removed the

20    currency that was provided to him by the teller and placed it

21    in this bag.    The robber then moved to a second teller and

22    again demanded money, and the second teller gave him money from

23    her drawer.    A post-robbery audit was conducted and revealed

24    that the individual took $7,330 in U.S. currency.           The deposits

25    of the Sovereign Bank were at the time and are now insured by
     Case 1:10-cr-10308-PBS Document 31 Filed 12/22/16 Page 11 of 17
                                                                               11




 1    the Federal Deposit Insurance Corporation.

 2               And, briefly, the evidence would have shown that after

 3    the June 4 robbery, Plymouth Police arrived, and, with the

 4    assistance of a tracking dog, were able to follow a trail from

 5    the bank onto Wilson Lane in Plymouth.         They canvassed the

 6    neighborhood and learned that a neighborhood resident had

 7    observed a gray Toyota RAV4 with certain Massachusetts plates.

 8    The plate number was put out over the air through a BOLO alert.

 9    A state trooper at around --

10               THE COURT:    A what?

11               MR. RICHARDSON:      BOLO, be on the lookout.     That's

12    their acronym.     Sorry.

13               THE COURT:    In all these years, I've never heard that

14    before.

15               MR. RICHARDSON:      Really, really.

16               THE COURT:    Yes.

17               MR. RICHARDSON:      Even from Peggy Cronin.     That's her

18    favorite term.     At around 5:45 p.m., a state trooper saw this

19    vehicle passing through the Bourne rotary.         He waited for

20    backup and then effected a stop of the Toyota when it entered a

21    McDonald's parking lot.      The defendant was in the passenger's

22    seat.   The troopers got him out of the car, frisked him and

23    handcuffed him, and recovered a plastic bag that was semi-

24    transparent and contained a large sum of currency with bank

25    bands around it.
     Case 1:10-cr-10308-PBS Document 31 Filed 12/22/16 Page 12 of 17
                                                                             12




 1               During a later search of the defendant's home,

 2    the police located a bag that contained, among other things,

 3    several Abercrombie sweatshirts and a black flair gun

 4    consistent in appearance with the weapon used in both of the

 5    robberies.

 6               At the police station, the police gave the defendant

 7    his Miranda warnings.      He previously had been searched incident

 8    to arrest and found to have $385 in his wallet and $1,085 in

 9    his pants pocket.     Among other things, he admitted to

10    committing both of the bank robberies.         First, he admitted to

11    committing the robbery earlier that day, indicating that he had

12    used a flair gun, and then when shown photographs from the

13    June 1 robbery, he admitted to committing that robbery as well,

14    and as having worn the same sweatshirt, mask, and gloves that

15    he used in the robbery on June 4.

16               THE COURT:    Do you disagree with anything the

17    government just said?

18               THE DEFENDANT:    No, your Honor.

19               THE COURT:    So did you rob the Sovereign Bank?

20               THE DEFENDANT:    Yes, your Honor.

21               THE COURT:    So now I'm going to read the counts of the

22    indictment.    Do you plead guilty to on or about June 1, 2010,

23    in Plymouth, that you did, by force and violence and

24    intimidation, take from the person and presence of another

25    money in the amount of $2,705 belonging to and in the care,
     Case 1:10-cr-10308-PBS Document 31 Filed 12/22/16 Page 13 of 17
                                                                              13




 1    custody, control, management and possession of TD Bank,

 2    2 Market Crossing, Plymouth, Mass., the deposits of which were

 3    then insured by the Federal Deposit Insurance Corporation, and

 4    in committing this offense, that you did assault and put in

 5    fear the life of another person by the use of a dangerous

 6    weapon -- to wit, a flair gun -- in violation of federal law?

 7    Do you plead guilty knowingly, freely, and voluntarily.

 8               THE DEFENDANT:    Yes, your Honor.

 9               THE COURT:    With respect to Count 2, do you plead

10    guilty in Plymouth that you did by force and violence and by

11    intimidation take from the person and presence of another money

12    in the amount of $7,330 belonging to and in the care, custody,

13    control, management and possession of Sovereign Bank, 715 State

14    Road, Plymouth, Mass., the deposits of which were then insured

15    by the FDIC, and that in committing this offense, you did

16    assault and put in fear the life of another by use of a

17    dangerous weapon, again, a flair gun, in violation of federal

18    law?   Do you plead guilty knowingly, freely, and voluntarily?

19               THE DEFENDANT:    Yes, your Honor.

20               THE COURT:    And with respect to the forfeiture

21    allegations, is that the money?        What is it?

22               MR. RICHARDSON:    Yes, your Honor.       That's basically

23    the cash taken in the course of both of the robberies.

24               THE COURT:    Do you agree to the forfeiture of the

25    moneys taken at the bank?
     Case 1:10-cr-10308-PBS Document 31 Filed 12/22/16 Page 14 of 17
                                                                               14




 1               THE DEFENDANT:    Yes, your Honor.

 2               THE COURT:    All right, so --

 3               MR. RICHARDSON:    The only other thing, your Honor, and

 4    this has struck me in terms of the Guidelines, in the interest

 5    of full disclosure, I know in recent cases I've had charging

 6    armed bank robbery, Probation, it's only been a one-point

 7    difference, but rather than count what was done as brandishing

 8    a dangerous weapon, they have counted it as use.          And I'm not

 9    sure what exactly the line of demarcation is, but they may come

10    up with Guidelines somewhat higher.

11               THE COURT:    Right.   You understand that Probation may

12    come up with different guideline ranges.         Is that right?

13               THE DEFENDANT:    Yes, your Honor.

14               THE COURT:    All right, okay.     So knowing all that you

15    know, the rights you give up, the penalties that are possible,

16    do you want to plead guilty to these offenses?

17               THE DEFENDANT:    Yes, your Honor.

18               THE COURT:    I find the plea is knowing and voluntary,

19    supported by an independent basis in fact concerning each of

20    the essential elements for each of the indictments and for the

21    forfeiture, and I accept it.       When would the sentencing be?

22               THE CLERK:    July 11 at 2:30.

23               MR. GALIBOIS:     Yes, please.

24               THE COURT:    Okay, that's fine.     That's fine.     Thank

25    you.   How long do you think you'll need?
     Case 1:10-cr-10308-PBS Document 31 Filed 12/22/16 Page 15 of 17
                                                                            15




 1               MR. GALIBOIS:     I would ask, Judge, on behalf of

 2    Mr. Milekis if we could be allotted 20, 25 minutes.

 3               THE COURT:    All right, are there going to be any

 4    evidentiary issues?

 5               MR. GALIBOIS:     I don't believe so.

 6               MR. RICHARDSON:    I don't think so.      I think pretty

 7    much all of the facts were in what I recited that would affect

 8    the Guidelines.     Again, there's that issue as to how Probation

 9    counts that particular issue, but --

10               THE COURT:    What did he do with the gun again, in your

11    view?

12               MR. RICHARDSON:    He had it in his hand.      I would call

13    it as brandishing.      You know, sometimes when they see police

14    reports, I think what they do is, if it's actually pointed at

15    an individual -- and I'm just not clear as to whether that was

16    done in this case -- they call it use as opposed to simply

17    having it and showing it.

18               THE COURT:    Well, that might be a point where there

19    might be some need for evidence?        But who knows?

20               MR. GALIBOIS:     I'll speak to Mr. Richardson before we

21    come back on the 11th to see if that's a disputed fact.

22               THE COURT:    What's at issue here, just so I can get a

23    sense, is this drugs?

24               MR. GALIBOIS:     Oh, very much so, yes, your Honor.

25               THE COURT:    So he committed these robberies --
     Case 1:10-cr-10308-PBS Document 31 Filed 12/22/16 Page 16 of 17
                                                                             16




 1               MR. GALIBOIS:     He was on that slippery slope, Judge.

 2    There's no question.

 3               THE COURT:    All right.    One thing I'd like you to be

 4    thoughtful about is, you'll obviously get some significant term

 5    of incarceration.     I can't begin to say what it is yet.       But at

 6    the back end of it, the bad news is you're here, but we do have

 7    resources to help people through a drug program problem.          In

 8    particular, we have a drug court called the CARE program.         We

 9    have resources.     They're only as good as what you're willing to

10    put into it, but I want you to think about it because they have

11    to be voluntary, all right?       All right, thank you.

12               MR. RICHARDSON:    Thank you, your Honor.

13               THE CLERK:    All rise.

14               (Adjourned, 2:34 p.m.)

15

16

17

18

19

20

21

22

23

24

25
     Case 1:10-cr-10308-PBS Document 31 Filed 12/22/16 Page 17 of 17
                                                                        17




 1                             C E R T I F I C A T E

 2

 3
      UNITED STATES DISTRICT COURT )
 4    DISTRICT OF MASSACHUSETTS    ) ss.
      CITY OF BOSTON               )
 5

 6

 7               I, Lee A. Marzilli, Official Federal Court Reporter,

 8    do hereby certify that the foregoing transcript, Pages 1

 9    through 16 inclusive, was recorded by me stenographically at

10    the time and place aforesaid in Criminal No. 10-10308-PBS,

11    United States of America v. Bryan Milekis, and thereafter by me

12    reduced to typewriting and is a true and accurate record of the

13    proceedings.

14               Dated this 21st day of December, 2016.

15

16

17

18

19
                      /s/ Lee A. Marzilli
20                    __________________________________
                      LEE A. MARZILLI, CRR
21                    OFFICIAL COURT REPORTER

22

23

24

25
